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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


  ERIC CAPDEVILLE                                           CIVIL ACTION


  VERSUS                                                    NO: 22-5590

  SOUTHWEST AIRLINES CO.                                    SECTION: "A" (4)


       In accordance with 28 U.S.C. ' 455(a) and ' 455(b), the Court disqualifies itself

from this matter.

       Accordingly,

       IT IS ORDERED that the Clerk of Court re-allot this matter to another section.

       January 3, 2023

 June 11,
 January 04,2018
             2023
                                            JAY C. ZAINEY
                                    UNITED STATES DISTRICT JUDGE
